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               IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


PATRICE BRACEY                       :             CIVIL ACTION
                                     :
        V.                           :
                                     :
SETH BETANCOURT                      :              NO. 20-6205



                                 ORDER

         AND NOW, this     3rd   day of November 2021, for the

reasons set forth in the foregoing memorandum, it is hereby

ORDERED that:

         (1)     The motion of defendant Seth Betancourt for

summary judgment (Doc. #11) on plaintiff’s federal

constitutional claims under 42 U.S.C. § 1983 is DENIED; and

         (2)     The motion of defendant for summary judgment as

to plaintiff’s state claims is GRANTED.



                                         BY THE COURT:


                                          /s/ Harvey Bartle III
                                         _______________________
                                                                     J.
